              Case 2:13-cv-00101-MJP Document 205 Filed 04/24/15 Page 1 of 6



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 7
                                UNITED STATES DISTRICT COURT
 8
                               WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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10      DEBI HUMANN,                                        CASE NO. C13-101 MJP

11                             Plaintiff,                   ORDER ON PLAINTIFF’S MOTION
                                                            FOR ATTORNEY’S FEES AND
12              v.                                          [NONTAXABLE] COSTS

13      CITY OF EDMONDS et al.,

14                             Defendants.

15

16          THIS MATTER comes before the Court on Plaintiff’s Motion for Attorney’s Fees and

17 Costs. (Dkt. No. 165.) Having reviewed the Motion, Defendant City of Edmonds’ Response

18 (Dkt. No. 183), Defendant Micheal Cooper’s Response (Dkt. No. 184), Plaintiff’s Reply (Dkt.

19 No. 190), and all related papers, the Court hereby GRANTS the Motion in part, DENIES it in

20 part, and ORDERS Plaintiff to submit an additional brief as detailed below.

21                                             Background

22          Plaintiff Debi Humann prevailed at trial in her claims against Micheal Cooper and the

23 City of Edmonds on the following counts: defamation (the only claim against Micheal Cooper

24 directly), wrongful termination in violation of public policy with respect to the initial termination
     ORDER ON PLAINTIFF’S MOTION FOR
     ATTORNEY’S FEES AND [NONTAXABLE]
     COSTS- 1
                 Case 2:13-cv-00101-MJP Document 205 Filed 04/24/15 Page 2 of 6



 1 and the later rehiring and layoff, and First Amendment retaliation with respect to the rehiring and

 2 layoff only. (See Jury Verdict, Dkt. No. 154; Judgment, Dkt. No. 159.) She did not prevail on her

 3 First Amendment retaliation claim based on the City Council funding decision or her due process

 4 stigma-plus claim—counts on which the Court granted motions for judgment as a matter of law.

 5 (See Dkt. Nos. 149, 152.)

 6          Plaintiff now seeks attorney’s fees and nontaxable costs from the City of Edmonds.

 7 Taxable costs, including witness fees, transcript fees, and fees of the Clerk, were requested and

 8 granted in part under separate motion. (See Dkt. Nos. 163, 204.)

 9                                               Analysis

10          I.       Legal Standard

11          42 U.S.C. § 1988(b) provides for an award of attorney’s fees to prevailing parties if the

12 action is brought under certain enumerated statutes, including § 1983. See Sole v. Wyner, 551

13 U.S. 74, 77 (2007). Similarly, RCW 49.48.030 provides for attorney’s fees in connection with

14 employment suits where the plaintiff is “successful in recovering judgment for wages or salary

15 owed to him or her.” (As Plaintiff points out, the Washington Supreme Court has interpreted this

16 language to extend to actions that recover front pay as well as back pay. See Int’l Ass’n of Fire

17 Fighters, Local 46 v. City of Everett, 146 Wn.2d 29, 35 (2002).) The tort of defamation (the only

18 count against Micheal Cooper) does not permit fee-shifting, though Plaintiff reduced the total fee

19 request somewhat to account for that claim. (See Dkt. No. 165 at 5.) Attorney’s fees are

20 calculated by the “lodestar” method, in which the Court multiplies the number of hours the

21 prevailing party reasonably expended on the litigation by a reasonable hourly rate. Morales v.

22 City of San Rafael, 96 F.3d 359, 363–64 (9th Cir. 1996), amended by 108 F.3d 981 (9th Cir.

23 1997).

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     ORDER ON PLAINTIFF’S MOTION FOR
     ATTORNEY’S FEES AND [NONTAXABLE]
     COSTS- 2
              Case 2:13-cv-00101-MJP Document 205 Filed 04/24/15 Page 3 of 6



 1          Expenses or costs that are nontaxable under 28 U.S.C. § 1920 may also be recovered as

 2 part of attorney’s fees under § 1988 and other federal fee-shifting statutes. See Trustees of

 3 Constr. Indus. & Laborers Health & Welfare Trust v. Redland Ins. Co., 460 F.3d 1253, 1257–58

 4 (9th Cir. 2006).

 5          II.     Lodestar Calculation

 6          Defendant City of Edmonds objects to the rates used to in Plaintiff’s proposed lodestar

 7 calculation. Specifically, Defendant notes that Plaintiff is requesting fees at counsel’s current

 8 billing rates rather than the rates in effect at the time the work was done. (See Dkt. No. 182 at 3–

 9 4; Freeman Decl., Dkt. No. 183, Ex. D.) The Supreme Court has endorsed the use of current rates

10 in complex civil rights litigation where a delay in payment stretches over many years. See

11 Missouri v. Jenkins, 491 U.S. 274, 283–84 (1989). Here, however, Plaintiff is seeking an

12 adjustment for hours billed from 2012 on—a mere three years’ delay for the earliest

13 expenditures. As the Ninth Circuit has explained in a case distinguishing Missouri v. Jenkins, a

14 two-year delay does not impose significant costs due to the time value of money and thus

15 historical rates may be more accurate. Corder v. Brown, 25 F.3d 833, 838–39 (9th Cir. 1994).

16 Here, too, the amount by which Plaintiff’s counsel increased their rates over time ($50/hour

17 increase in the case of Ms. Cutler and $70/hour increase in the case of Ms. Bloom) is more likely

18 attributable to increasing skill and experience (including experience litigating this case) than to,

19 for example, inflation. (See Freeman Decl, Dkt. No. 183, Ex. D.) Defendant’s downward

20 adjustments to the fee request—a reduction of $28,850—is appropriate in this context.

21          III.    Excessive or Dead-End Work and Lack of Success

22          Defendant City of Edmonds argues Plaintiff should not be able to bill for excessive or

23 unnecessary time on depositions and for claims that were abandoned or on which she did not

24 succeed at trial. Where a plaintiff is successful on only some claims, the court must determine
     ORDER ON PLAINTIFF’S MOTION FOR
     ATTORNEY’S FEES AND [NONTAXABLE]
     COSTS- 3
             Case 2:13-cv-00101-MJP Document 205 Filed 04/24/15 Page 4 of 6



 1 whether the successful and unsuccessful claims were related. See Tutor-Saliba Corp. v. City of

 2 Hailey, 452 F.3d 1055, 1063 (9th Cir. 2006). Here, Plaintiff’s claims all arose from a common

 3 core of facts, so they are related. See O’Neal v. City of Seattle, 66 F.3d 1064, 1069 (9th Cir.

 4 1995). When the claims are related, “the court must . . . [determine] the significance of the

 5 overall relief obtained by the plaintiff in relation to the hours reasonably expended. If the

 6 plaintiff obtained excellent results, full compensation may be appropriate, but if only partial or

 7 limited success was obtained, full compensation may be excessive.” O’Neal, 66 F.3d at 1068–69

 8 (internal quotation marks and citations omitted).

 9          Here, Plaintiff achieved remarkable results, including a total damages award of

10 $1,035,351. (Dkt. No. 159.) Her failure to prevail on the stigma-plus claims and claims based on

11 the City Council vote likely had a small impact on her total recovery, since they could be

12 considered alternative legal theories based on the same core facts (namely, the two terminations).

13 See Duffy v. City of Desert Hot Springs, 342 Fed. App’x 279, 282 (9th Cir. 2009). Plaintiff is

14 also correct that the facts about the City Council vote were essential to the presentation of Mayor

15 Earling’s decision to rehire Plaintiff and then lay her off; depositions of City Council members

16 were therefore helpful at trial. Even with the benefit of hindsight, none of the depositions

17 Plaintiff chose to pursue was unnecessary. And while Plaintiff took more depositions than are

18 allowed under Fed. R. Civ. P. 30(a)(2) without formal leave of the Court, Defendant agreed to

19 the additional depositions and cannot be heard to complaint now. (See Dkt. No. 191, Ex. A.)

20          Plaintiff admits that certain items were intended to be omitted from the lodestar

21 calculation but were inadvertently included, including the following categories of billing entries:

22 an unsuccessful motion to compel Susan Coskey and related work product protection research;

23 research regarding legislative immunity/deliberative process protection; Plaintiff’s Rule 50

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     ORDER ON PLAINTIFF’S MOTION FOR
     ATTORNEY’S FEES AND [NONTAXABLE]
     COSTS- 4
             Case 2:13-cv-00101-MJP Document 205 Filed 04/24/15 Page 5 of 6



 1 motions; multiple attorney attendance at mediation; an email with counsel regarding mediation;

 2 and clerical errors. (See Cutler Decl., Dkt. No. 191 at 8.) Because many of these categories may

 3 have been inflated by contemporary billing rates under the Court’s determination that historical

 4 rates are more accurate, the full $21,808.13 may not need to be deducted. In addition, it is

 5 unclear how the parties reached such different totals for the Coskey issues (Plaintiff calculates

 6 $14,245 and Defendant $23,995 (see Dkt. Nos. 191 at 8, 182 at 8)). Plaintiff is therefore ordered

 7 to submit a brief recalculating the admitted deductions using historical billing rates, justifying the

 8 exclusion of any items counted by Defendant but not Plaintiff relating to the Coskey briefing,

 9 and providing a renewed fee request that takes into account the issues resolved by this Order.

10          IV.     Costs

11          The Clerk has already awarded Plaintiff most of the taxable costs she requested. (Dkt.

12 No. 204.) Defendant does not oppose Plaintiff’s nontaxable expenses request; the Court finds

13 that the total $30,794.83 requested is reasonable.

14                                              Conclusion

15          Because historical billing rates are more appropriate given the relatively brisk conduct of

16 the case, the Court GRANTS the Motion for fees and costs against Defendant City of Edmonds

17 in part and DENIES it in part. Plaintiff is hereby ORDERED to submit an additional brief of no

18 more than three (3) pages within ten (10) days recalculating the admitted deductions using

19 historical rates, justifying the exclusion of any items counted by Defendant but not Plaintiff

20 related to the Coskey briefing, and providing a renewed fee request in accordance with this

21 Order.

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23          The clerk is ordered to provide copies of this order to all counsel.

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     ORDER ON PLAINTIFF’S MOTION FOR
     ATTORNEY’S FEES AND [NONTAXABLE]
     COSTS- 5
            Case 2:13-cv-00101-MJP Document 205 Filed 04/24/15 Page 6 of 6



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 3         Dated this 24th day of April, 2015.

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                                                 Marsha J. Pechman
 7                                               Chief United States District Judge

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     ORDER ON PLAINTIFF’S MOTION FOR
     ATTORNEY’S FEES AND [NONTAXABLE]
     COSTS- 6
